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 4 Attorney for Defendant
   Jose Gonzalez Arias
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 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                              CASE NO. 08-cr-00562 WBS
12                                 Plaintiff,               STIPULATION AND [PROPOSED]
                                                            ORDER CONTINUING STATUS OF
13   v.                                                     SENTENCING HEARING
14   JOSE GONZALEZ ARIAS,
                                   Defendant,
15

16
                                                STIPULATION
17
            Defendant Jose Gonzalez Arias through his counsel of record, and Plaintiff United States of
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19 America, by and through its counsel of record, hereby stipulate as follows:
20          The court should vacate the status of sentencing hearing now set on June 15, 2015. A status

21 of sentencing hearing shall be scheduled for September 14, 2015 at 9:30 a.m., said matter to be

22
     added to the court’s calendar for that date. The purpose of this request is to provide time for the U.S.
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     Marshals Service to transport Mr. Arias to court, and for counsel to meet with Mr. Arias once he is
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     brought here.
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        Case 2:08-cr-00562-WBS Document 403 Filed 06/11/15 Page 2 of 2



 1 DATED:    June 10, 2015
 2
                              /s/ Jill Thomas___________________
 3                            Assistant United States Attorney
 4 DATED:    June 10, 2015
 5
                              /s/ Timothy E. Warriner
 6                            Counsel for Defendant
                              Jose Gonzalez Arias
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 8
 9                                   ORDER
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       IT IS SO FOUND AND ORDERED.
11

12   DATED: JUNE 11, 2015
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